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IN THE UNITED STATES DISTRICT COURT Q
FOR THE DISTRICT OF NEW MEXICA\ i 9 8 1907 ew

CARL WILSON, an individual, and
AUDRBE WILSON, an individual,

  

Plaintiffs,
v. No. CIV 94-892 JC/LFG

HARPERCOLLINS PUBLISHERS INC.,
a Delaware Corporation,

Defendant.
BRIEF IN SUPPORT OF MOTION TO EXCLUDE EXPERT TESTIMONY
OF MARILYN LASHNER OR FOR A DAUBERT HEARING

I. INTRODUCTION

On November 16, 1996 plaintiffs served a copy of a
report, coding manual and affidavit from one Marilyn Lashner.*
The inadequacies of the original report are the subject of a
motion to preclude her testimony and for sanctions now pending
before the federal magistrate.

The sum total of Lashner’s submission purports to
assert an "expertise" in "content analysis," an academic

discipline apparently originating from attempts by ecclesiastical

 

* On November 27, 1996, plaintiff forwarded additional
submissions to defendant, including certain calculations and
other data, purporting to support the conclusions of her
report. On December 3, 1996, plaintiffs forwarded a revised
"Affidavit of Marilyn Lashner, Ph.D, dated December 2, 1996
which is organized to contain headings and other information
that comports with the rule respecting expert witness reports."
Defendant has attached as exhibits the Affidavit (Exhibit A),
the Report (Exhibit B), and the Coding Manual (Exhibit C).
Plaintiffs consent to. attaching exhibits in excess of fifty
(50) pages.
 

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authorities to ferret out heretical beliefs and sentiments from
written works.? Lashner uses this analysis to reach three
conclusions: (1) Carl Wilson and Audree Wilson were portrayed
negatively in the book and that negative portrayal would have
been so understood by the average reader (Report at 3); (2) Dr.
Landy contributed sections to the book (Report at 6-7)?; and (3)
HarperCollins Publishers Inc. ("HarperCollins") knew that Dr.
Landy contributed portions to the book (Report at 6, § 4; id. at
29). Lashner thus purports to testify as to the meaning that the
challenged passages would have to an ordinary reader, the issue
of historical fact as to who wrote the book, and the subjective
state of mind of HarperCollins when it published the book.

No less than five courts have previously excluded
Lashner’s testimony on these types of issues in libel cases,
concluding that her testimony would not assist the trier of fact
and would be more prejudicial than probative. They have also
rejected her method of analysis as "virtually incomprehensible

pseudo-scientific jargon," see infra.

 

2 "Pirst used for studies in theology when the Church had
interest in checking the spread of nonreligious matters, the
procedures have evolved into a scientific methodology commonly
used in universities and elsewhere for research in Journalism,
Literature, Sociology, Political Science, Psychiatry, and
Psychology." (Lashner Aff. § 21.)

3 Lashner refers to "the major contribution of Dr. Landy
to the writing of the book" and further states that
HarperCollins permitted "its book to serve as a platform for
Dr. Landy." (Report at 6, § 4; id. at 7, § 8.)

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We urge this Court to do the same because: (1) Lashner
has no expertise to testify as to who in fact wrote the book (and
no basis for concluding that if Brian Wilson did not write the
book, then Eugene Landy did); (2) Lashner has no expertise to
testify as to whether Brian Wilson was competent to write the
book; (3) expert testimony on the issue of a publisher’s
subjective state of mind has been squarely rejected; (4) expert
testimony on the issue as to how an average reader would
understand the challenged passages has likewise been rejected;
and (5) Lashner’s conclusion that the plaintiffs are negatively
portrayed is substantially predicated on passages which are not
at issue in this case encompasses speech fully protected by the
First Amendment.

The foregoing flaws fully warrant exclusion of
Lashner’s testimony. Were the Court to conclude otherwise, then
this Court would be required to conduct a hearing pursuant to the
Supreme Court decision in Daubert v. Merrell Dow Pharmaceuticals,
Inc., 113 S. Ct. 2786 (1993), at which plaintiffs would be
required to establish by a preponderance of evidence that
Lashner’s "content analysis" has sufficient scientific validity
to meet Daubert’s governing standard as to relevance and

reliability.
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IT. ARGUMENT
A. The Court’s Gatekeeping Function

In Daubert, the Supreme Court held that under the 1975
amendments to the Federal Rules of Evidence, the federal courts
have an essential "gatekeeping" or "screening" function to
perform in passing on the admissibility of expert testimony,
especially testimony purportedly based on the scientific method.
Id. at 2795, 2798. Drawing on the language of Rule 702, the
Court ruled that the testimony must (1) consist of "scientific
knowledge that (2) will assist the trier of fact to understand or
determine a fact in issue," id. at 2796 (footnote omitted), and
required that the scientific principles on which it is based be
reliable and accurate. Id. at 2795 ("(T]he trial judge must
ensure that any and all scientific testimony or evidence admitted
is not only relevant, but reliable.").

The proffered Lasher testimony fails on every count to
meet the Daubert standard.

B. Lashner’s Testimonial Record

At least five courts have excluded Lashner’s testimony
on precisely the issues on which she presently proposes to opine
here -- the defendant’s subjective state of mind and the meaning
that the challenged passages would have to an average reader.
These courts have routinely excluded Lashner’s opinions as

invasive of the roles of the court and jury, as unhelpful to the

 
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trier of fact, and as more prejudicial than probative. This
Court should do the same.

The most recent decision to confront and reject Lashner
and her mode of analysis was Tilton v. Capital Cities/ABC Inc 938
F. Supp. 751 (N.D. Okla. 1995), aff'd, 95 F.3d 32 (10th Cir.
1996). In that libel case, the plaintiff sought to proffer
Lashner’s "expert" testimony on, among other things: "how
certain rhetorical devices or patterns of speech convey implicit
meanings;" "how the use of words, patterns of words, the position
of words, the taking of words out of context and the placing of
words with visual presentation, were used by Defendants to convey
meanings to the viewing public;" "how the average reader was
likely to understand the broadcasts;" and the "Defendants’
knowledge of the falsity of the facts and implied facts presented
to the viewing audience." 938 F. Supp. at 752.

The Court excluded Lashner’s testimony, concluding that
it would not assist the trier of fact because: (1) the trier of
fact is clearly capable of determining what the average viewer
understood without the aid of expert testimony; and (2) special
knowledge is not necessary to determine the defendants’
subjective state of mind. 938 F. Supp. at 753. The Court
further concluded that Lashner’s testimony should be excluded
under Federal Rule of Evidence 403, on the basis that it "would
be confusing to the jury, would be a waste of time[,] and would
be unfairly prejudic[ial] to Defendants." Id. In so holding,

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the Court relied on a decision of the Oklahoma Court of Appeals,
which had excluded Lashner’s testimony in a false light case on
the defendant’s state of mind, concluding that no special skills
or knowledge were needed to make a determination as to the mental
state of the defendants. See Winship v. McCurtain County News,
Inc., 21 Media L. Rep. 2026, 2027 (Okla. Ct. App. 1993)
(unpublished) .

Other courts have reached similar conclusions. In
World Boxing Council v. Cosell, 715 F. Supp. 1259 (S.D.N.Y.
1989), the plaintiff in a libel action offered Lashner as an
expert on the defendant’s "subjective state of mind." The
court’s exclusion of Lashner’s testimony as confusing "pseudo-
scientific jargon" has acute application to the instant case:

The WBC .. . seeks to introduce, as evidence of
Cosell’s alleged misuse of the articles, testimony by
an expert witness "in the field of media analysis and
communications research." Through a complicated and
confusing "“scientific/statistical" method of analysis,
using "codes" and "labels" and specialized terminology,
the expert, Dr. Marilyn Lashner, attempts to offer her
view of Cosell’s subjective state of mind when he wrote
the passage.

A layman is perfectly capable of reading Cosell’s book
and comparing it with the articles he claims to have
relied on, without the "help" of a linguistics expert.
There, Dr. Lashner’s testimony would waste the time of
both the jury and the court. Because it transforms a
common sense issue into a technical one, and relies on
virtually incomprehensible pseudo-scientific jargon,
Dr. Lashner’s analysis must be excluded as more apt to
confuse than to enlighten, more unfairly prejudicial
than probative. Fed. R. Evid. 403 & 702.
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715 F. Supp. at 1264-65 (emphasis added).

And yet again, in Brueggemeyer v. American Broadcasting
Cos., 684 F. Supp. 452, 464 (N.D. Tex. 1988), the court excluded
an affidavit of Lashner purporting to opine on the issue of
actual malice, concluding that her opinions were "too unreliable
to be admitted in evidence" or "to assist the jury in its
determination of the relevant facts." Id. at 465. The court
reasoned that, even if the affidavit satisfied the requirements
of Fed. R. Civ. P. 56 (e) (which the Court held it did not), "the
probative value of the opinions is substantially outweighed by
the danger of unfair prejudice, confusion of the issues, or
misleading the jury, and the opinions are thus excludable under
Fed.R.Evid. 403." Id.

Finally, the Ohio Court of Appeals has rejected
Lashner’s proffered testimony on the issue of defamatory meaning
on the ground that that issue is a question of law for which
expert testimony is inappropriate. See Fish v. Heatherdowns
Country Club Ass’n, 1991 WL 97324 *4 (Ohio. Ct. App. 1991).

Thus, at least five courts have excluded Lashner’s
testimony, concluding that her claimed area of "expertise" lacks
evidentiary utility in libel cases, and that the issues of a
defendant’s subjective state of mind and defamatory meaning are
not appropriate subjects for expert testimony. Despite the
extraordinarily clear message delivered by this and other
circuits as to the relevance and reliability of "content

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analysis" of works challenged in libel cases, the plaintiffs
proffer just such testimony here. No differently than the
outcomes in the foregoing cited authorities, her testimony should
be excluded on each of the three issues on which she claims
special expertise here.

Cc. Lashner Lacks Expertise on the Issue of Who Wrote the

Book, HarperCollins’ State of Mind, and Brian Wilson’s

Mental State

1. Landy’s Alleged Contribution to the Book

Whatever the utility of "content analysis" as an
academic device for understanding the structure of a novel, it
does not extend to the realm of divining historical facts, such
as the identity of the author of a book or HarperCollins’
knowledge of authorship. In Daubert, Justice Blackmun referred
to the potential incongruity between an expert opinion and the
issues in a particular case by requiring that there be a “fit”
between the expertise and the facts of the case. 113 S. Ct. at
2796. As Justice Blackmun explained, by way of example, an
astronomer’s testimony on the phases of the moon would be
admissible in a case where visibility was in issue; it would not
be admissible as scientific evidence to show that a party behaved
irrationally on the night in question. Id.

As the courts faced with Lashner’s opinions have
concluded, her expertise in analyzing literature or rhetoric
lacks a "fit" to libel cases. This incongruity is demonstrated
most vividly by her conclusion that Eugene Landy contributed "his

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voice" to the book and that HarperCollins knew it (Report at 6-
7). Since plaintiffs have adduced no evidence to establish
Landy’s participation in writing the book, they attempt to rely
on Laghner to establish an historical fact not provable by any
witness with personal knowledge.

Lashner arrives at her opinion that Landy contributed
to the book by focusing on isolated statements by Brian Wilson
concerning substance abuse and mental illness, relating them to
defects in his memory, and then concluding that he could not have
remembered the events described in the book. (Lashner Report at
7, 4.6) ("a goodly portion of information which the book advanced
about Dr. Landy and others was incompatible with Brian’s memory
or personal knowledge.").* Therefore, she continues, Landy must
have contributed these passages to the book. {Lashner Report at
7.)

Initially, Lashner is not qualified to opine on what
Brian Wilson could or did remember. Lashner’s psychological
assessment of Brian Wilson’s state of mind and the content of
what he could or could not remember is clearly beyond Lashner’s

competence.®

 

4 Gee also Lashner’s reference to Brian Wilson’s “mental

disability throughout much of the time covered by his
narration." (Lashner Report at 7, | 6.)

5 Since Lashner has never examined Brian Wilson and is not
qualified to do so, she cannot state that Brian Wilson was
incapable of remembering events during the time he was treated

(continued...)

 
 

 

 

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Lashner is not a psychologist or a psychiatrist and
does not purport to have any qualifications allowing her to
render a professional opinion on whether Brian Wilson was able to
recall accurately the events recounted in the book, what events
he could or could not recall, and whether the statements in the
book were his own recollection of the historical past or someone
else’s. Her credentials do not include any training or licensure
in psychology. She has never examined Brian Wilson and would be
incompetent to give an opinion on this issue if she had.®

Moreover, Lashner’s expertise could not conceivably
extend to opining on whether a historical fact -- Landy’s
alleged contribution to the book -- occurred or not. lLashner
offers, and can offer, no scientific methodology to support the
notion that analysis of the text of a book can yield reliable
information on the identities of persons contributing to the
book.

Lashner appears to abandon "content analysis" (and

hence any scientific pretense for her opinion) altogether with

 

5 (...continued)

by Landy. In her report she hedges this issue by stating that
he was "often not sufficiently lucid to recognize or interpret
the goals of Dr. Landy’s therapy or even to recall the many
stages or procedures." (Report at 28 (emphasis added.) )

6 Moreover, even a qualified psychiatrist would not be
allowed to give an opinion on whether Landy actually contributed
material for the book. Lashner’s report seeks to opine, in this
respect, on matters heretofore considered within the province of
parapsychology, a discipline which is not recognized as grounded
in scientific principle at all.

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regard to conclusions regarding Landy: lLandy’s participation in
the writing of the book "was addressed not by the scientific
content analysis described above, but rather by an informal
review of other passages selected by this researcher to present
statements of and concerning Dr. Landy." Lashner Report at 12
(emphasis added). Such psychological speculation is clearly
beyond the expertise she claims to have.
Lashner’s proposed testimony here is indistinguishable

from the expert testimony rejected by Judge Parker in Sanchez v.
KPMG Peat Marwick, 1996 WL 104259 (D.N.M. 1996). In Sanchez the
plaintiff offered expert testimony that certain financial
statements were misleading based, in substantial part, on the
expert’s perception that certain underlying transactions were
"illegal." The court rejected his testimony on the ground that
aS an accountant, the expert:

was not qualified to opine as to the legality of

transaction. ... Thus, Adler’s testimony demonstrates that

he first concluded that the CBG Transactions were illegal

and then found fault with Peat for not so reporting. His

opinion is driven by his conclusion that he is not qualified

to reach.
Id. *3. Likewise, Lashner’s opinion hinges on the psychological
assessment of Brian Wilson’s mental state, an expertise she
admittedly does not possess.

The major conclusion of her report -- that Landy must

have contributed to the book -- is predicated both on an

expertise she does not have (psychology) and an expertise, if

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such it can be called, that is based on a nonscientific
methodology. For these reasons, Lashner should not be allowed to

testify as to conclusions regarding Landy’s contributions to the

 

book.

2. HarperCollins’ State of Mind

Lashner’s pretensions of exploring HarperCollins’ mind
concerning what it knew and when it knew it -- specifically the

suggestion that it knew prior to publication that Landy had
contributed portions to the book (Report at 6, § 4; id. at 29) --
exceeds by leagues what courts have ever allowed in libel cases.
Lashner’s opinion clearly exceeds the parameters of her claimed
expertise. Indeed, in rebuffing her opinion in both Tilton and
Cosell, the courts flatly rejected her efforts to engage in mind-
reading concerning defendants’ knowledge of defamatory meanings
or truth or falsity. See Tilton, 938 F. Supp. at 753 (excluding
Lashner’s proposed testimony on the issue of actual malice) ;
World Boxing, 715 F. Supp. at 1265 (Lashner’s “view of [the
defendant's] subjective state of mind . . . would waste the time
of both the jury and the court”). See also United States v.
Evans, 910 F.2d 790, 803 (11th Cir. 1990) (expert linguistic
testimony would not aid jury in determine defendant’s state of
mind), aff’d, 504 U.S. 255 (1992).

Moreover, her pretensions of telepathic powers based on
textual analysis -- that HarperCollins "knew" that Landy was a
contributor -- is equally absurd. See United States v. Evans,

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910 F.2d 790 (11th Cir. 1990) (psycholinguistic analysis to show
defendant’s state of mind excluded in extortion prosecution),
aff’d, 504 U.S. 255 (1992); United States v. Schmidt, 711 F.2d
595 (5th Cir. 1983) (psycholinguistic testimony to show state of
mind excluded in false swearing case).

It is outlandish enough that Lashner draws her
conclusion on Landy’s role based on "an informal review" of
passages of her selection; her "informal" methodology could not
conceivably extend to divining from the writings of an author
what a publisher knew about the identities of contributing
authors.’ United States v. Hearst, 563 F.2d 1331, 1350 (9th
Cir. 1977) (psycholinguistic analysis to prove authorship of
letters excluded). To the extent that Lashner purports to
testify on crypto authors or defendant’s knowledge of these
authors based on textual analysis of the book, her testimony is
clearly beyond the realm of any scientific discipline and more
appropriately belongs to the field of parapsychology. This Court
should exclude Lashner’s opinions on HarperCollins’ knowledge of

Landy’s alleged participation in the writing of the book.’®

 

7 An apt analogy is polygraphy, an expertise which can be
useful in determining whether a subject believes that he is
telling the truth about an event. It does not establish the
objective reality of whether the historical event about which the
subject is tested occurred or not.

8’ From this, Lashner makes the inexplicable leap that
Landy (as opposed to someone else) must have been the source of
the challenged assertions in the book.

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D. Lashner’s Testimony on the Book’s “Negative” Portrayal
of Plaintiffs Should be Excluded

Lashner also proposes to testify that Carl Wilson is
presented negatively in the book, especially in relation to
Landy, that Audree is portrayed negatively as well, and that the
average reader "would have understood" these portrayals to be
negative. (Lashner Manual at 2).

At the outset, in reaching here conclusions on the
portrayal of the plaintiffs, Lashner bases her opinion in
substantial part on communications that are not even complained
of by the plaintiffs and are protected under core First Amendment
principles. The issue in a libel case is not whether Carl or
Audree are presented negatively in the book, but whether the
negative portrayal is the result of false and defamatory

assertions of fact. A mere negative portrayal of a person cannot

 

form the basis of an action for defamation. The twenty-four
designated passages that have been reconstructed into

"assertions" and categorized as negative to Carl Wilson’

 

° See Report. Lashner’s approach is to identify certain
"designated passages" in the book (Lashner Report at 9),
analyze these passages in unidentified "contexts," id., and
then apparently break the passages into smaller units called
"assertions." Id. at 11. Lashner states the conclusion that
"scientific content analysis of the 27 designated passages
generated a total of 298 assertions of relevant information:
80 focusing on Audree Wilson; and 218 focusing on Carl Wilson."
Id. at 18. She then places the "assertions" into fifteen
categories, (id. at 10), and applies a formula to arrive at the
conclusion that the plaintiffs are not favorably depicted. Id.
at 11, Coding Manual at 16.

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constitute a hodgepodge of statements that include ones that are
not challenged by plaintiff here, are not of and concerning Carl
Wilson,*® and are clearly opinion.“ Whatever Lashner’s opinion
as to the negative light thrown by such statements they are
firmly protected under the First Amendment.

To the limited extent Lashner addresses factual
assertions about the plaintiffs that are claimed to have
defamatory meaning, it is well-established that expert testimony
on the issue of defamatory meaning is improper, as it invades the
provinces of the judge and jury and cannot assist the trier of
fact.

Under the law of defamation, the court determines as a
matter of law whether a statement is susceptible to a defamatory

meaning. If so, it is for the trier of fact to determine whether

 

*° "The designated passages focusing on the Beach Boys are
to be analyzed in terms of the ’Carl Wilson categories’ on the
assumption that, and to the extent that, they are deemed
relevant to Carl Wilson, individually, or as a member of the
Beach Boys." (Coding Manual at 11 (emphasis added.) )

4 See Report. Several categories of negative
commentary are absolutely protected by the First Amendment and
by state constitutional privileges. Rhetorical hyperbole, for
example, is constitutionally protected speech under the First
Amendment. Henderson v. Times Mirror Co., 669 F. Supp. 356 (D.
Colo. 1987) (reference to plaintiff as "sleaze-bag" who "slimed
up from the bayou" not actionable), aff'd _mem., 876 F.2d 108
(10th Cir. 1989); Mingus v. Dell Publishing Co., 17 Media L.
Rep. (BNA) 1370 (N.Y. Sup. Ct. 1990) (statements describing
plaintiff as a "primitive creature" who "spent a lot of time
mentally AWOL" not actionable); Rowland v. Fayed, 14 Media L.
Rep. (BNA) 1257 (D.C. Super. Ct. 1987) (characterizing plaintiff
as "the Al Capone of London" mere rhetorical hyperbole and not
actionable).

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it was so understood. See White v. Fraternal Order of Police,
Inc., 909 F.2d 512, 518 (D.C. Cir. 1990); Foretich v. Chung, 23
Media L. Rep. (BNA) 1414 (D.D.c. 1995).

If statements in the book are capable of a defamatory
understanding and are not protected as opinion or rhetorical
hyperbole, it will certainly be apparent to the jury without an
expert telling it that a passage is "really" defamatory and
should be understood as such, although it does not appear to be
so. Since a defamatory statement is one which reduces the
plaintiff's reputation within his community, who is better able
to determine whether a statement is capable of being understood
in a defamatory sense than the trial court, and who is better
able to conclude that it was so understood than the
representatives of the very community which constitutes the
standard? See, ¢.g., Jetcraft Corp. v. Flight Safety Int’l 16
F.3d 362, 366 (10th Cir. 1993) ("the district court properly
prohibited plaintiffs’ expert from doing what the jury could do
just as well on its own"); Persinger v. Norfolk & W. Ry. Co., 920
F.2d 1185, 1188 (4th Cir. 1990) ("Rule 702 excludes expert
testimony on matters within the common knowledge of jurors") ;

United States v. Schmidt, 711 F.2d 595, 599 (5th Cir. 1983)

 

2 See N.M. U.J.I. 13-1007 Directions For Use ("This
instruction is to be used when the court determines that the
communication, while not defamatory as a matter of law, is
capable of a defamatory meaning. In such cases it is for the
jury to determine whether the communication is defamatory.").

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(affirming preclusion of testimony by linguistics expert that
"complicated an otherwise simple issue before the jury"); United
States v. Devine, 787 F.2d 1086, 1088 (7th Cir. 1986) (linguistic
analysis not needed where contents of tape were within average
person’s understanding).

For these reasons, the courts in Tilton, Cosell,
Brueqgemeyer, and Fish excluded Lashner’s testimony on this issue
on the ground that her claimed expertise would not assist the
trier of fact. These holdings conform to the consistent line of
federal cases excluding psycholinguistic testimony in a variety
of issues and circumstances. See McCabe v. Rattiner, 814 F.2d
839, 843 (lst Cir. 1987) (expert testimony on meaning of word
"scam” excluded in libel action); James v. San Jose Mercury News,
Inc., 20 Cal. Rptr. 2d 890, 900 (Ct. App. 1993) (linguistic
analysis to show impact of alleged defamation irrelevant in libel
action); United States v. Aquon, 851 F.2d 1158, 1171 (9th Cir.
1988) (Ninth Circuit has "repeatedly upheld the exclusion of
psycholinguistic expert testimony;” expert testimony to show
state of mind excluded in false swearing case), overruled on
other grounds by Evans v. United States, 504 U.S. 255 (1992);
United States v. DeLuna, 763 F.2d 897, 912 (8th Cir. 1985)
(linguistic analysis properly excluded).

This is not a case concerning an allegedly libelous
technical journal intended for sophisticated readers involving
any issue or subject matter that an ordinary juror will not be

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able to comprehend without scientific assistance. It concerns a
book written by a layman in plain English about his life and
travails. The Court has an obligation to exclude irrelevant and
speculative opinion stamped with the imprimatur of precise
scientific knowledge, especially where the subject of the
proposed testimony is the common meaning of ordinary words
directed to ordinary readers and capable of understanding by
judges and jurors. Newell v. Field Enters., 415 N.E.2d 434, 442
(Ill. App. Ct. 1980) ("([T]he defamatory effect of a writing is
‘to be ascertained not from the viewpoint of a critic or language
expert, but rather from that of a reader of reasonable
intelligence who takes ordinary interest in the articles of a
periodical but does not commonly subject them to careful scrutiny
and analysis.’" (quoting Christopher v. American News Co., 171
F.2d 275, 278 (7th Cir. 1948)).

In these circumstances, Lashner’s proposed testimony on
the asserted "negative" portrayal of Carl and Audree Wilson would
be far more prejudicial than probative, and thus should, in
addition, be excluded under Rule 403.

Accordingly, this Court should, consistent with Rules
702 and 403 and the cases cited above, exclude this testimony
because its minimal relevance, if any, is substantially
outweighed by its potential for prejudice and confusion.

E. A Daubert Hearing is Required if Any of Lashner’s

Testimony is to Remain

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For the reasons set forth above, the Court should
exclude Lashner’s testimony on each of the issues she proposes to
address. However, if any issues remain, the Court should conduct
a Daubert hearing to determine whether Lashner’s claimed
expertise is based on any valid scientific principle or
technique.

At such a hearing, the Court must scrutinize the
reliability of the expert scientific methodology to determine
whether it is "scientifically valid," 113 S. Ct. at 2796.
Relevant facts will be: (1) whether the methodology can be
empirically tested and whether its application results in
replicable outcomes; (2) whether the theory or technique has been
subjected to peer review or publication; (3) whether there is a
known or potential rate of error, and if so, the rate of error
and (4) its general acceptance within the relevant expert
community. Id. at 2796-97. A Daubert is thus a complex, but
necessary proceeding:

Federal judges ruling on the admissibility of expert

scientific testimony face a far more complex and

daunting task in a post-Daubert world than before.

Under Daubert, we [judges] must engage in a
difficult, two-part analysis. First we must determine
nothing less than whether the experts’ testimony
reflects "scientific knowledge," whether their findings
are "derived by the scientific method," and whether
their work product amounts to "good science."

Daubert v. Merrell Dow Pharmaceuticals, Inc., 43 F.3d 1311, 1315-

16 (9th Cir.).

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Here, if a Daubert hearing is necessary, the Court
would need to focus on a host of questions typically directed at
any expert purporting to apply a scientific methodology or
technique: what exactly is the scope of the expertise? Is it
limited to the academic inquiry of how words and rhetorical
devices operate to convey meaning? Does it purport to be able to
opine on the subjects that Lashner addresses in her report, for
example, the authorship of a book, or what a publisher knew or
understood? Does the methodology have any objective features or
do subjective factors’? necessarily enter into the application
of the methodology? Are the results replicable using the
technique or do the results depend on the identity of the content
analyzer? Has the scientific community done validation studies
to determine whether given the same raw materials, several
different qualified experts reach the same conclusion when

applying the methodology or principles?** What are the

 

13 The disqualifying subjectivity of this enterprise is
reflected in the very coding manual on which Lashner relies.
Under Stage V, Lashner states that "[C]loding reliability is a
function of the coder’s skill, insight, experience; and clarity

of categories and coding rules which guide their use." Content
analysis does not qualify as either "hard" or "soft" science.
Indeed, it does not qualify as science at all. (Coding Manual
at 16.)

4 Dr. Lashner can only "presume" that her conclusions
would be reached by others applying her methodology. No
validation has been attempted or performed on her _ work.
(Report at 31, n.4) ("It is presumed that subsequent

researchers, following the rules and procedures set forth in
the Coding Manual, would arrive a similar results").

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acceptable known or potential error rates in applying the
scientific technique? What is the standard against which the
error rate is addressed?** Does any standard exist in this
field?

While HarperCollins believes that Lashner’s testimony
should be excluded for the reasons provided, if a Daubert hearing
is required, HarperCollins will be prepared to demonstrate the
complete failure of content analysis to conform to the
requirements of Daubert. Lashner’s acknowledgment that her
discipline has its origins in the efforts of inquisitors to
identify errant religious beliefs itself casts grave doubt on its
claim to be a juridically cognizable "scientific" expertise.

As one court which previously rejected Lashner’s method
of "content analysis" concluded, plaintiff, at the end of the
day, cannot "demonstrate that content analysis is an acceptable

study within the scientific community." See Fish, 1991 WL 97324

 

at *2.

 

15 In Daubert, on remand, the Ninth Circuit noted that the

factors recited by the Court "raise many questions, such as how
do we determine whether the rate of error is acceptable, and by
what standard?" 43 F.3d at 1316 n.3.

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IIL. Conclusion.

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For the reasons set forth above, HarperCollins

respectfully submits that the Court should preclude Lashner’s

testimony or, in the alternative, conduct a Daubert hearing to

determine whether her method of analysis satisfies the

requirements of the Federal Rules of Evidence.

Respectfully Submitted,

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We hereby certify that a copy
of the foregoing was mailed to
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day of December,

1996.

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